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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                SouthernDistrict
                                             __________ Districtof
                                                                 of__________
                                                                   Ohio

                  United States of America                      )
                             v.                                 )
                                                                )       Case No. 3:21-MJ-379
                                                                )
                                                                )
                                                                )
                           Defendant(s)


           CRIMINAL COMPLAINT

             I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                                             in the county of                                  in the
                       District of                          , the defendant(s) violated:

            Code Section                                                  Offense Description




         This criminal complaint is based on these facts:




             Continued on the attached sheet.



                                                                                           Complainant’s signature


                                                                                            Printed name and title

Sworn to before me and signed in my presence.


Date: 10/20/21
                                                                                              Judge’s signature

City and state:
                                                                                            Printed name and title
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                                      AFFIDAVIT


1. I, Timothy J. Wallace, a Special Agent for United States Immigration and Customs
   Enforcement (ICE), Homeland Security Investigations (HSI), am hereinafter referred to
   as Affiant. I am an employee of HSI assigned to the Cincinnati Resident Office. I have
   been a Special Agent with HSI since July 2009. I attended and graduated from the basic
   agent training course in Brunswick, Georgia and have received extensive training in the
   investigation of narcotics trafficking and financial crimes from HSI, as well as ongoing
   in-service training.
2. Since February 2018, Affiant has been assigned to the HSI Border Enforcement Security
   Task Force (BEST) in Dayton, Ohio. As a Special Agent for HSI, Affiant is charged
   with the duty of enforcing various federal criminal laws.
3. By virtue of Affiant's employment with HSI, I perform and have performed various tasks
   which include, but are not limited to:
   a) Conducting surveillance for the primary purpose of observing the activities and
       movements of drug traffickers;
   b) Functioning as a case agent which entails the supervision of specific aspects of drug
       investigations; and,
   c) The tracing and tracking of monies and assets gained by drug traffickers from the
       illegal sale of drugs.
4. This Affidavit is submitted in support of a criminal complaint, and seeks the issuance of
   an arrest warrant for, ARTUR WOJTKOWSKI SR., for a violation of 18 U.S.C. §§
   922(g)(1) and 924(a)(2) (convicted felon in possession of a firearm which has been
   shipped or transported in interstate or foreign commerce).
                                SUMMARY OF PROBABLE CAUSE
1. The information contained in this Affidavit is based upon an investigation conducted by
   your Affiant and other law enforcement officers. All details of the investigation are not
   included in this Affidavit, rather only information necessary to establish probable cause
   of the aforementioned violations. Unless otherwise noted, when I assert that a statement
   was made, I received the information from a law enforcement officer who provided the
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   information to me, either verbally or in a written report. The officer providing me with
   the information may have received the information by way of personal knowledge or
   from another source.
2. On October 19, 2021, investigators from the Miami Valley Bulk Smuggling Task Force
   learned from other law enforcement officials that WOJTKOWSKI was involved in an
   incident at approximately 2:00 a.m., in which he (WOJTKOWSKI) possessed and
   discharged a firearm at a local bar. Investigators sought to recover the firearm that
   WOJTKOWSKI used in the incident. In an effort to do so, they identified his address –
   namely, 5266 Taylorsville Road, Huber Heights, Ohio.
3. That same day, investigators established surveillance at the Taylorsville residence and
   ultimately detained WOJTKOWSKI as he left this location. Around this time, law
   enforcement sought and obtained a state search warrant for the Taylorsville residence.
   Investigators executed the warrant and discovered within the home a Taurus
   semiautomatic handgun and an assault-style rifle.
4. After detaining WOJTKOWSKI, investigators advised him of his Miranda rights.
   WOJTKOWSKI stated that he understood his rights and was willing to speak with police.
   WOJTKOWSKI advised that the Taurus handgun inside his residence was the firearm
   that he had in his possession during the incident that had occurred at the bar earlier in the
   day.
5. I reviewed databases and learned that, in 2007, WOJTKOWSKI was convicted in the
   United States District Court for Southern District of Ohio, Case No. 3:16CR136(2)WHR,
   of conspiracy to possess with intent to distribute five kilograms or more of cocaine.
   WOJTKOWSKI was sentenced to 60 months imprisonment in that case. Given the
   length of his sentence, WOJTKOWSKI knew that he had been convicted of a crime
   punishable by a term of imprisonment exceeding one year.
6. While previously conducting numerous investigations involving Taurus firearms, your
   Affiant has verified with a Bureau of Alcohol Tobacco and Firearms (ATF) Special
   Agent, and knows through the course of his investigations, that Taurus firearms are not
   manufactured in Ohio. Therefore, the Taurus handgun determined to be in
   WOJTKOWSKI’s possession affected interstate commerce as it crossed a state line to
   reach him in this state.
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   7. Based on the facts set forth in the Affidavit, Affiant believes that there is probable cause
       to issue a criminal complaint and arrest warrant against ARTUR WOJTKOWSKI SR. for
       a violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2) (convicted felon in possession of a
       firearm which has been shipped or transported in interstate or foreign commerce).


_____________________
Timothy J Wallace, Special Agent
Homeland Security Investigations


Subscribed and sworn to before me on October __,
                                             20 2021



__________________________
Honorable Peter B. Silvain Jr.
United States Magistrate Judge
